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             EXHIBIT 4
                                                                                     --
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          Date: Sunday, July 12, 2020 8:23:05 PM                                        Print        Close

                                                                                 View: SF: What to disclose
          Name: Teresa Reid 2020 - Amicus Brief Jones v. DeSantis,
          Disclosure Type: Legal Consulting
          Status: Review Complete


          University of Florida faculty and staff are required to disclose certain outside activities and
          financial interests. Activities to be disclosed for review and prior approval include paid or
          unpaid professional activities (e.g., a consulting relationship with a private company) that you
          are not doing as part of your UF role and/or job description. Financial interests in entities doing
          business with UF (buying goods or services, selling goods or services, sponsoring your
          research, licensing your technology) or competing with UF (research or teaching, for example)
          must be disclosed. Disclosure of these kinds of activities and/or interests provides the
          opportunity for discussion and review by appropriate UF officials and the management or
          elimination of potential conflicts of interest. UF has created a list of examples to provide further
          clarification.

          Please answer the following questions to determine whether you have an activity and/or
          interest to disclose:

            1. * Do you or your spouse, child or relative have a management
               position (e.g., officer, director, partner, proprietor), or a material
               financial interest (more than 5% ownership interest) in an outside
               entity that enters into agreements or contracts with UF (e.g., service
               agreements, leases, sales agreements) or does business with UF in
               any capacity?


                 •
                 0   Yes
                     No


            2. * Do you or your spouse or dependent child have a financial interest
               of $5,000 or more in a publicly traded entity where the financial
               interest reasonably appears to be related to your institutional
               responsibilities? â€œFinancial interestâ€ consists of the aggregate
               value of any remuneration received from the entity and any
               equity/ownership interest (including stock, stock option, or other
               ownership interest) in the entity as of the date of disclosure. [Note:
               Remuneration includes any payment or compensation for services
               received from the entity in the twelve months preceding the
               disclosure. Do not include income or any equity/ownership interest
               from independently managed investment vehicles like mutual funds
               or retirement accounts.]


                 •
                 0   Yes
                     No


            3. * Do you or your spouse or dependent child receive remuneration of
               $5,000 or more from or have ANY equity/ownership interest (including
               stock, stock option, or other ownership interest) in a non-publicly
               traded entity where the financial interest reasonably appears to be
               related to your institutional responsibilities? [Note: Remuneration
               includes any income or payment for services received from the entity
               in the twelve months preceding the disclosure.]


                 •
                 0   Yes
                     No


            4. * Are you a candidate for public office or do you hold public office?


                 •
                 0   Yes
                     No


            5. * Do you have or are you seeking approval to hold a teaching
               appointment with any entity other than UF?


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                •
                0   Yes
                    No


           6. * Do you conduct or are you seeking approval to conduct any
               research at, or receive any research funding from or through, any
               entity other than UF? [Note: Research conducted at outside entities
               as part of a UF sponsored project or research funding received by UF
               does not need to be disclosed.]


                •
                0   Yes
                    No


           7. * Do you require or are you seeking approval to require students to
               purchase works used in your classroom you or your spouse created,
               authored or co-authored (e.g., textbook(s), computer software,
               electronic or digital media) and for which you or your spouse will
               receive, or anticipate receiving payment, loan, subscription, advance,
               deposit of money, service, or anything of value?


                •
                0   Yes
                    No


           8. * Do you receive royalties, licensing fees or any income of $5,000 or
               more from intellectual property rights and interests (e.g., patents,
               copyrights) related to your UF expertise from any entity other than
               UF?


                •
                0   Yes
                    No


           9. * Do you serve or are you seeking approval to serve as an expert
               witness or engage in consulting in a legal matter such as a lawsuit or


                •
               a potential lawsuit?
                    Yes
                0   No


          10. * Do you provide or are you seeking approval to provide paid or
               unpaid professional services related to your UF expertise to an
               outside entity?


                •
                0   Yes
                    No


          11. * Do you have a paid or unpaid senior management, administrative,
               or leadership role related to your UF expertise with an outside entity
               where you make executive business or financial decisions on behalf
               of the outside entity?


                •
                0   Yes
                    No


                                                              View: SF: Disclosure Entity Information
          Name: Teresa Reid 2020 - Amicus Brief Jones v. DeSantis,
          Disclosure Type: Legal Consulting
          Status: Review Complete



          Disclosure for Teresa Reid: Entity Information
           1. External entity:



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             or

             If you are unable to find the entity, please enter as text below:
             Amicus Brief Jones v. DeSantis,


             * Is the entity publicly traded?
               0   Yes   •   No


             * Country:
             United States


             Entity Related Documents:
               Name                            Description
               There are no items to display


           2. Entity EIN Tax Number (optional):

           3. Entity Website URL (optional):

           4. * What type of outside activity and/or financial interest do you have
             or will you have with the outside entity?
             Legal Consulting


                                                             View: SF: Disclosure Legal Consulting


          Disclosure for Teresa Reid: Legal Consulting
           1. * Does this legal consulting/expert witness engagement relate to
             medical malpractice or any healthcare-related matter?


              •
              0    Yes
                   No


           2. * Will you be hired by the Plaintiff or Defendant?
             Plaintiff




             I affirm that the attorney with whom I will be working understands
             that my engagement in this activity is in my capacity as a private
             citizen and not as an employee of the University of Florida.



           3. Enter Plaintiff(s) name:



           4. Enter Plaintiff law firm/attorney name:

           5. Enter Defendant(s) name:

           6. Enter Defendant law firm/attorney name:




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           7. Start date:

           8. End date:

           9. City/State where the alleged issue occurred or relates to:




          10. Estimated annual compensation:

          11. * Will UF equipment, facilities, services, resources be used (on a
             more than incidental basis), or will staff and/or students be involved
             in this activity or financial interest?


              •
               0   Yes
                   No




          12. * Please explain whether you think this activity/case could in any way
             place you in a position that is adverse to the interests of the
             University of Florida. Also, include any additional information that
             helps clarify this disclosure:
             Amicus Brief Jones v. DeSantis,


          13. Related Documents:
               Name                            Description
               There are no items to display


                                                              View: SF: Time Commitment


          Disclosure for Teresa Reid: Legal Consulting
          Time Commitment
           1. * Approximately how long do you expect this activity or relationship
             to last in total?

           2. * Estimated start date:

           3. Estimated end date:




           4. * Approximately how many hours in total do you expect to spend on
             this activity?



           5. Explain any additional information to clarify the dates or time
             commitment involved:


                                                                   View: SF: Certification




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          Disclosure for Teresa Reid: Certification
          My initials on this completed electronic disclosure affirm and certify an understanding of and
          compliance with UFâ€™s policies on conflicts of interest, outside activities, and financial
          interests as well as the completeness and accuracy of my responses in this disclosure.

          I will keep my disclosures up-to-date and accurate, and I confirm I understand and
          agree with the above statements. Enter initials here: TJR

          After certification, you will be brought to your disclosure workspace. To route your
          disclosure for review, select the "Submit Disclosure" activity on the left navigation.
          Your disclosure is not complete until the "Submit Disclosure" activity is executed, and
          your disclosure changes from the "Pre-Submission".
